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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1709V
                                      (not to be published)

    ************************* *
                                *
    ANGELA LEE,                 *
                                *
                                *                          Filed: April 22, 2021
                    Petitioner, *
                                *
    v.                          *
                                *                          Decision by Stipulation; Damages;
                                *                          Influenza (“Flu”) Vaccine; Guillain-Barré
    SECRETARY OF HEALTH AND     *                          syndrome (“GBS”).
    HUMAN SERVICES,             *
                                *
                                *
                    Respondent. *
                                *
    ************************* *

David Carney, Green & Schafle LLC, Philadelphia, PA, for Petitioner
Emilie Williams, U.S. Department of Justice, Washington, DC, for Respondent

                              DECISION ON JOINT STIPULATION1

        On November 9, 2019, Angela Lee (“Petitioner”) filed a petition, seeking compensation
under the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Pet., ECF
No. 1. Petitioner alleges she developed Guillain-Barré syndrome (“GBS”) within the time period
set forth in the Table, or in the alternative, that her alleged GBS was caused by the flu vaccination
she received on October 3, 2017; she further alleges that she experienced residual effects of this
condition for more than six months. See Stipulation ¶ 2, 4, dated April 22, 2021 (ECF No. 33);
see also Petition.

1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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        Respondent denies “that petitioner sustained a Table injury, and denies that the flu vaccine
is the cause of petitioner’s alleged GBS, chronic inflammatory demyelinating polyneuropathy
(“CIDP”), or any other injury or her current condition.” See Stipulation ¶ 6. Nonetheless, both
parties, while maintaining their above-stated positions, agreed in a stipulation filed April 22, 2021
that the issues before them can be settled and that a decision should be entered awarding Petitioner
compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       a lump sum of $60,000.00 in the form of a check payable to petitioner.

Stipulation ¶ 8. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk
of the Court is directed to enter judgment herewith.3

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.
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